        Case 4:22-cv-03892-YGR Document 153-1 Filed 02/07/24 Page 1 of 2



 1   Matthew S. Warren (State Bar No. 230565)
     Erika H. Warren (State Bar No. 295570)
 2   22-3892@cases.warrenkashwarren.com
     WARREN KASH WARREN LLP
 3   2261 Market Street, No. 606
     San Francisco, California, 94114
 4   Tel: (415) 895-2940
     Fax: (415) 895-2964
 5
     David I. Berl (pro hac vice)
 6   Adam D. Harber (pro hac vice)
     Elise M. Baumgarten (pro hac vice)
 7   Melissa B. Collins (pro hac vice)
     D. Shayon Ghosh (State Bar No. 313628)
 8   Arthur John Argall III (pro hac vice)
     Andrew G. Borrasso (pro hac vice)
 9   WILLIAMS & CONNOLLY LLP
     680 Maine Avenue S.W.
10   Washington, D.C., 20024
     Tel: (202) 434-5000
11   Fax: (202) 434-5029
12   Counsel for Plaintiffs Gentex Corporation
     and Indigo Technologies, LLC
13
14                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
15                                 OAKLAND DIVISION
16   GENTEX CORPORATION and INDIGO
     TECHNOLOGIES, LLC,
17
                           Plaintiffs,               Case No. 4:22-cv-03892-YGR
18
     THALES VISIONIX, INC.,                          [PROPOSED] ORDER ON PLAINTIFFS’
19                                                   ADMINISTRATIVE MOTION TO
                           Involuntary Plaintiff,    CONSIDER WHETHER ANOTHER
20                                                   PARTY’S MATERIAL SHOULD BE
             v.                                      SEALED
21
     META PLATFORMS, INC. and META                  Judge:      Hon. Yvonne Gonzalez Rogers
22   PLATFORMS TECHNOLOGIES, LLC,
23                         Defendants.
24
25
26
27

28   [PROPOSED] ORDER ON PLAINTIFFS’ MOTION                       CASE NO. 4:22-CV-03892-YGR
     TO CONSIDER WHETHER ANOTHER PARTY’S
     MATERIAL SHOULD BE SEALED
        Case 4:22-cv-03892-YGR Document 153-1 Filed 02/07/24 Page 2 of 2



 1            Upon consideration of the administrative motion to consider whether another party’s material
 2   should be sealed filed by Plaintiffs Gentex Corporation and Indigo Technologies, LLC, any
 3   declarations filed in support thereof, and the applicable law, the Court GRANTS Plaintiffs’
 4   Administrative Motion to Consider Whether Another Party’s Material Should Be Sealed. The Clerk
 5   of Court shall file under seal the portions of the Reply in Support of the Joint Motion to Dismiss
 6   highlighted in green.
 7            IT IS SO ORDERED.
 8
 9
10   Dated:
                                                    Honorable Yvonne Gonzalez Rogers
11
                                                    United States District Judge
12
13
14
15
16

17
18
19
20
21
22
23
24
25
26
27

28    [PROPOSED] ORDER ON PLAINTIFFS’ MOTION           1                  CASE NO. 4:22-CV-03892-YGR
      TO CONSIDER WHETHER ANOTHER PARTY’S
      MATERIAL SHOULD BE SEALED
